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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTHONY BOBULINSKI and                   Civil Action No. 1:24-cv-02349 (JPO)
STEFAN PASSANTINO,

                  Plaintiffs,            DEFENDANT JESSICA TARLOV’S
                                         APPLICATION FOR ATTORNEYS’
           v.                            FEES

JESSICA TARLOV,

                  Defendant.




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       Defendant Jessica Tarlov submits this memorandum of law in support of her request for

attorneys’ fees in accordance with the Court’s November 26, 2024 Opinion and Order (Order),

ECF No. 35. In that Order, the Court determined that Ms. Tarlov is entitled to attorneys’ fees under

New York Civil Rights Law § 70-a and directed Ms. Tarlov to file documentation in support of her

request for fees. This memorandum and the separately filed Declaration of Patrick F. Philbin

(Philbin Declaration) provide the documentation for Ms. Tarlov’s request for fees.

       As explained below, Ms. Tarlov respectfully submits that she is entitled to a fee and costs

award in the amount of $333,674.66. This amount—which reflects the attorneys’ fees and costs

actually paid or approved for payment in this case—is reasonable in light of the number of issues

involved and the experience and qualifications of defense counsel.

       In diversity actions, reasonableness of a fee award issued under a state statute is governed

by state law. See Riordan v. Nationwide Mut. Fire Ins. Co., 977 F.2d 47, 53 (2d Cir. 1992).

Calculating attorneys’ fees “should not result in a second major litigation.” Fox v. Vice, 563 U.S.

826, 838 (2011) (quotation omitted). Rather, the “goal . . . is to do rough justice, not to achieve

auditing perfection.” Id.

       Under New York law, courts calculate a “presumptively reasonable fee” under the

“lodestar method.” Millea v. Metro-North R.R. Co., 658 F.3d 154, 166 (2d Cir. 2011) (quotation

omitted). The lodestar method entails taking the “number of hours reasonably expended on the

litigation multiplied by a reasonable hourly rate.” Arbor Hill Concerned Citizens Neighborhood

Ass’n v. County of Albany & Albany Cnty. Bd. of Elections, 522 F.3d 182, 186 (2d Cir. 2007). A

reasonable rate is one a “reasonable, paying client would be willing to pay.” Id. at 184. “[A]n

attorney’s customary rate is a significant factor in determining a reasonable rate. Indeed, as a

logical matter, the amount actually paid to counsel by paying clients is compelling evidence of a
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reasonable market rate.” Reiter v. Metro. Transp. Auth. of N.Y., No. 01-cv-2762, 2004 WL

2072369, at *5 (S.D.N.Y. Sept. 10, 2004).

       A.      Counsel’s Work Defending this Action.

       In March 2024, Plaintiffs filed a Complaint alleging that Ms. Tarlov had defamed them by

stating that Plaintiff Bobulinski’s legal fees in connection with congressional testimony had been

paid by a “Trump Super PAC.” Compl. ¶ 29, ECF 1. Plaintiffs asserted that this statement

amounted to defamation, defamation per se, and defamation by implication against both Plaintiff

Bobulinski and against his attorney, Plaintiff Passantino. Id. ¶¶ 46-64. Plaintiff Passantino also

brought an injurious falsehood claim. Id. ¶¶ 65-69.

       In response, Ms. Tarlov filed a motion to dismiss. ECF 17. This motion required

addressing numerous defects in the Complaint, including (1) failure to allege a defamatory

statement; (2) failure to allege actual malice (both because Plaintiffs were limited purpose public

figures and because actual malice was required under N.Y. Civ. Rts. L. § 76(a)); (3) failure to

allege defamation per se or special damages; (4) failure to adequately allege injurious falsehood;

(5) failure to state a claim for defamation by implication; and (6) the single instance rule. ECF 19.

As the Court noted in its Order, it agreed with Defendant’s analysis on most of these points. See

Order at 4 (“The Court agrees on all counts.”). In addition, Ms. Tarlov’s motion argued that the

court should award Ms. Tarlov fees under New York’s anti-SLAPP statute, N.Y. Civ. Rts. L. § 70-

a(1)(a). After Plaintiffs opposed the motion, Ms. Tarlov also filed a reply in support of her motion

to dismiss.

       Following the briefing, the Court designated the case for oral argument. ECF 30. This

required defense counsel to spend additional time preparing for argument and conducting research

updates on all of the topics listed above.


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       Given the number of issues involved and the oral argument held in this case, counsel

reasonably spent a total of 354.1 hours defending in this action. Counsel’s success in this matter—

in which the Court agreed with Ms. Tarlov’s arguments regarding Bobulinski’s public figure

status, lack of a defamatory statement, lack of actual malice, failure to allege either defamation per

se or special damages, failure to state a claim for defamation by implication, failure to state a claim

for injurious falsehood, and the application of New York’s fee-shifting provision—is further

evidence that counsel’s work on this matter was reasonable.              As additional evidence of

reasonableness, Ms. Tarlov is not requesting compensation for the fees incurred in preparing this

application.

       Recent cases involving similar motions to dismiss and the application of state anti-SLAPP

laws further demonstrate that the hours expended in this case were reasonable. For example, in

Woulfe v. Universal City Studios LLC, No. 2:22-cv-00459, 2024 WL 1110914 (C.D. Cal. Feb. 8,

2024), the Court found that 416.9 hours was a reasonable number of hours for briefing and arguing

an anti-SLAPP motion to dismiss. Id. at *9-10 (finding that a 20% cut to counsel’s 521.1 billed

hours resulted in a reasonable hour amount for the case). The court noted that the hours were

necessary because the motion to dismiss “dealt with a variety of issues, spanning from the

applicability of the anti-SLAPP statute to the present case, to numerous arguments challenging the

sufficiency of Plaintiff’s complaint.” Id.1 Ms. Tarlov faced a comparable situation, because her

motion to dismiss similarly addressed a range of deficiencies in the complaint as well as the

application of New York’s anti-SLAPP statute. Similarly, in Herring Networks, Inc. v. Maddow,


1
 After approving 416.9 hours of work for the case, the court in Woulfe held that the defendant was
entitled to only 20% of the resulting fees because the motion to dismiss had resulted in only 20%
of the case being dismissed. Id. at *10. Ms. Tarlov’s motion, by contrast, was 100% successful,
and accordingly no similar reduction in fees is warranted in this case.

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No. 3:19-cv-1713, 2021 WL 409724 (S.D. Cal. Feb. 5, 2021), the court approved approximately

337 hours of time spent by defense counsel responding to a complaint by briefing and arguing an

anti-SLAPP motion to dismiss and briefing on a motion to supplement the record. Id. at *3 n.3

(showing counsel claimed 355.5 hours); id. at *9-10 (ordering a 5% reduction in hours based on

objections to specific entries). The court awarded total fees of $247,667.50. Id. at *10. As

explained below, with adjustments for four to five years’ worth of rate increases (the work in

Herring was performed in 2019 and 2020) and the fact that rates in New York City are higher than

in San Diego, the result in Herring supports the reasonableness of the fees requested here.

       In total, Ms. Tarlov is claiming $331,859.26 in fees based on 354.1 hours of billed work,

along with $1,815.40 in costs, for a total of $333,674.66. A full set of the billing records with time

entries supporting the work done by counsel and itemized costs is attached to the Declaration of

Patrick F. Philbin as Exhibit A. As explained in the Philbin Declaration, Ms. Tarlov does not seek

reimbursement for certain entries in those billing records that relate to avenues in the litigation that

were not ultimately pursued. Those entries have been redacted in full. The following chart

summarizes the fees and costs Ms. Tarlov is requesting, broken down by timekeeper and month:

                                       April Time Summary
              Timekeeper                       Hours                                  Amount
             Ben Cameron                           2.5                                $ 743.75
         Chase Harrington                        35.3                              $ 22,503.75
         Patrick F. Philbin                      36.9                              $ 49,399.92
             Kyle T. West                        35.3                              $ 25,504.25
                     Total                        110                              $ 98,151.67
                                       May Time Summary
              Timekeeper                       Hours                                  Amount
             Ben Cameron                         10.5                               $ 3,123.75
         Chase Harrington                        46.6                             $ 29,707.50
                Brett Katz                         6.5                              $ 5,248.75
         Patrick F. Philbin                      52.3                             $ 70,016.69
             Kyle T. West                        20.7                             $ 14,955.75
                     Total                      136.6                            $ 123,052.44

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                                      July Time Summary
              Timekeeper                     Hours                               Amount
             Ben Cameron                          3                              $ 892.50
         Chase Harrington                      20.5                           $ 13,068.75
                Brett Katz                      0.2                              $ 161.50
         Patrick F. Philbin                    31.3                           $ 41,902.88
             Kyle T. West                      16.6                           $ 11,993.50
                     Total                     71.6                           $ 68,019.13
                                     October Time Summary
              Timekeeper                     Hours                               Amount
         Chase Harrington                       2.8                            $ 1,785.00
                Brett Katz                      0.6                              $ 484.50
         Patrick F. Philbin                    27.4                           $ 36,681.77
             Kyle T. West                       5.1                            $ 3,684.75
                     Total                     35.9                           $ 42,636.02


                                        Billing Summary
              Timekeeper                      Hours                               Amount
             Ben Cameron                          16                            $ 4,760.00
         Chase Harrington                      105.2                          $ 6,7065.00
                Brett Katz                       7.3                            $ 5,894.75
         Patrick F. Philbin                    147.9                         $ 198,001.26
             Kyle T. West                       77.7                          $ 56,138.25
          All Timekeepers                      354.1                         $ 331,859.26
                     Costs                         --                           $ 1,815.40
                     Total                         --                        $ 333,674.66

       B.      Counsel’s Rates Are Reasonable.

       Given their qualifications, defense counsel’s rates are reasonable.

       Patrick F. Philbin is a partner at Torridon Law PLLC focused on civil litigation. Mr.

Philbin graduated, magna cum laude, from Harvard Law School in 1992, after which he clerked

for Judge Laurence H. Silberman on the United States Court of Appeals for the D.C. Circuit and

then for Justice Clarence Thomas on the United States Supreme Court. Over the course of his 30-

plus-year career, Mr. Philbin has also held a number of senior government positions. His rate was

$1,338.75 per hour in this matter.


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        Brett Katz is a partner at Torridon focused on civil litigation. Mr. Katz’s rate was $807.50

per hour in this matter. He received his juris doctor degree in 2010 from Fordham University

School of Law and clerked for the Honorable Cathy L. Waldor, United States Magistrate Judge,

District of New Jersey.

        Kyle West is an associate at Torridon focused on civil litigation. He is a 2014 graduate,

cum laude, of Harvard Law School and clerked for Judge Timothy Tymkovich on the United States

Court of Appeals for the Tenth Circuit. Mr. West’s rate was $722.50 per hour in this matter.

        Chase Harrington is also an associate at Torridon focused on civil litigation. He is a 2017

graduate of Duke University School of Law, where he served as an editor of the Duke Law Journal.

After graduating, he clerked for Judge Allison H. Eid on the Supreme Court of Colorado and the

United States Court of Appeals for the Tenth Circuit. Mr. Harrington’s rate was $637.50 per hour

in this matter.

        Benjamin L. Cameron is a paralegal at Torridon with 15 years’ experience. Mr. Cameron’s

rate was $297.50 per hour in this matter.

        Each of these rates represents a 15% discount from the standard rates Torridon charged for

each biller during that period. As noted in the Philbin Declaration, Fox News Network, LLC (Fox)

paid Ms. Tarlov’s attorney fees in this matter. Philbin Decl. ¶ 4. While this case was being

litigated, other Torridon clients paid the same or higher rates than Fox paid on behalf of Ms. Tarlov

in this matter. Philbin Decl. ¶ 12. This is further evidence of the reasonableness of the rates at

issue. In re Stock Exchs. Options Trading Antitrust Litig., No. 99-cv-0962, 2006 WL 3498590, at

*9 (S.D.N.Y. Dec. 4, 2006) (finding an “attorney’s customary billing rate for fee-paying clients is

ordinarily the best evidence of” a reasonable hourly rate). Fox has paid, or approved for payment,

each of the invoices attached to the Declaration of Patrick F. Philbin, at the discounted rates given

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above, which further demonstrates reasonableness. Philbin Decl. ¶ 5; Deluca v. Bank of Tokyo-

Mitsubishi UFJ, No. 06-cv-5474, 2007 WL 4563921, at *5 (S.D.N.Y. Dec. 18, 2007) (finding fact

that a “paying corporate client, able to negotiate a fee-rate discount with its law firm,” agreed to

pay rates is evidence that they are reasonable); Doe 1 v. E. Side Club, LLC, No. 18-cv-11324, 2023

WL 4174141, at *6 (S.D.N.Y. June 23, 2023) (finding “the fact that those are the rates that were

actually charged to and paid by Defendants” “confirmed” that rates were reasonable).

       The rates given above are in line with rates for other commercial litigators that New York

courts have found reasonable. See, e.g., An v. Despins, No. 22-cv-10062, 2024 WL 1157281, at

*2, 4 (S.D.N.Y. Mar. 18, 2024) (finding reasonable partner rate of $1,990 and associate rate of

$895); Wells Fargo Trust Co., N.A. v. Fast Colombia S.A.S., No. 23-cv-603, 2023 WL 8591953,

at *6-9 (S.D.N.Y. Oct. 16, 2023) (approving hourly rates up to $1,400 for a senior partner and

nearly $1,000 for associates), report and recommendation adopted, 2023 WL 8433128 (S.D.N.Y.

Dec. 5, 2023); Red Tree Invs., LLC v. Petróleos de Venezuela, S.A., No. 19-cv-2523, 2022 WL

17834945, at *2 (S.D.N.Y. Nov. 29, 2022) (approving attorneys’ billed rates, which included

$1,600 rate for partner), report and recommendation adopted, 2023 WL 3004883 (S.D.N.Y. Feb.

23, 2023); Exh. G to Decl. of Joshua Weisser at 7, Red Tree Invs., LLC v, No. 19-cv-2523, ECF

No. 151-7 (identifying $1,600 rate).

       Finally, although there are no prior federal court cases awarding fees in an anti-SLAPP

matter in New York, a decision from the Southern District of California addressing a similar

motion to dismiss and application of California’s anti-SLAPP statute further supports the

reasonableness of the rates and the overall request for fees here. As noted above, in Herring, the

court approved approximately 337 hours of time (specifically, a 5% reduction to 355.5 hours) spent

by defense counsel responding to a complaint by briefing and arguing an anti-SLAPP motion to

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dismiss and briefing on a motion to supplement the record. See Herring Networks, Inc., 2021 WL

409724 at *3 & n.3; id. at *9-10. The Herring court also approved rates for work in 2019 and

2020 ranging from $1,150 per hour for a senior partner to $470 for a mid-level associate in the San

Diego market. Id. at *7. The court specifically discounted the requested rates on the basis that

rates were lower in the Southern District of California than in the Central District and Northern

District of California (i.e., Los Angeles and San Francisco, respectively). See id. at *4-6. Rates

in New York City are certainly higher than in San Diego.2 In addition, since the time that the costs

in Herring were incurred in 2019 and 2020, there have been four to five years of rate increases.

Rate increases for attorneys have outpaced inflation, and according to industry sources rates

increased over 6% year-over-year in 2020, over 5% in 2021, over 6% in 2022, 7% in 2023, and

10% for 2024 rates over the prior year.3 The Herring court awarded a total of $247,667.50 in fees.

Herring Networks, Inc., 2021 WL 409724, at *11. With adjustments for higher attorney rates in

New York and rate increases for four to five years, that award fully supports the reasonableness of

the award sought here. Indeed, assuming only a 5% increase for rates in New York, increases of

5% for 2020, 2021, 2022, and 2023, and an increase of 9% for 2024, that award would translate

into over $344,000 today.




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  Robert Freedman, BigLaw partners hand over work to keep costs down, analysis shows,
LegalDive (Oct. 22, 2024), https://perma.cc/GXN5-U4CH (“New York law firms, for example,
are by far the most expensive, with partners charging a typical $1,525 per hour . . . .”).
3
 William Josten, What the “State of the US Legal Market” report showed about law firm billing
rate performance in 2023 and where it may go in 2024, Thomson Reuters (Feb. 5, 2024),
https://perma.cc/E7ZF-VN6K; see also Freedman, supra note 2.

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                                          CONCLUSION

          The Court should grant Ms. Tarlov’s Application for Attorneys’ Fees and order Plaintiffs

to reimburse the defense for $333,674.66 in attorneys’ fees and costs incurred defending in this

action.



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